PLEA — non est factum. On the trial before his Honor Judge  Daniel at Rutherford, on the Fall circuit of 1831, it (44)  appeared that Abraham Crow, who was one of the obligors, was, at the time of his executing the bond, one of the Justices of the Peace composing the County Court of Rutherford.  Upon this appearing his Honor nonsuited the plaintiffs, who appealed.
The case comes directly within the principles settled in Justices v.Shannonhouse, 13 N.C. 6, and Justices v. Armstrong, 14 N.C. 284, and of other adjudications of this Court. The judgment of nonsuit must be affirmed.
PER CURIAM.                                 Judgment affirmed.